   8:12-cv-00078-LSC-FG3 Doc # 15 Filed: 05/21/12 Page 1 of 1 - Page ID # 46


                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

MARGARET STEELE,                             )            CASE NO. 8:12CV78
                                             )
       Plaintiff,                            )
                                             )
              v.                             )                ORDER AND
                                             )             FINAL JUDGMENT
LIFE INSURANCE COMPANY OF                    )
NORTH AMERICA, d/b/a CIGNA                   )
GROUP INSURANCE,                             )
                                             )
       Defendant.                            )

       This matter is before the Court on the parties’ joint Stipulation for Dismissal with

Prejudice (Filing No. 14). The stipulation complies with the requirements of Federal Rule

of Civil Procedure 41(a)(1)(A)(ii), and the Court concludes that it should be approved. The

parties will bear their own costs and attorney’s fees. Accordingly,

       IT IS ORDERED:

       1.     The parties’ joint Stipulation for Dismissal with Prejudice (Filing No. 14) is
              approved;

       2.     The Complaint is dismissed on its merits, with prejudice; and

       3.     The parties will pay their own costs and attorney’s fees.

       Dated this 21st day of May, 2012.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge
